            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION

                     CRIMINAL CASE NO. 3:07cr211


UNITED STATES OF AMERICA, )
                          )
                          )
              vs.         )              ORDER
                          )
                          )
VICTORIA L. SPROUSE.      )
                          )



     THIS MATTER is before the Court on the Defendant’s Motion in

Limine [Doc. 212], filed March 19, 2009, which actually contains a series of

motions.

     The first request is to exclude the words “flip,” “false,” and “scheme”

from a summary chart which the Government proposes to use in

connection with the testimony of one of the investigating agents. The

Government’s response discloses that the parties have resolved this

matter.

     The second request relates to the severed counts in which Sprouse

has been charged with perjury and obstruction of justice. No evidence that

Sprouse has been indicted with those charges, or their severance from this



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trial, may be introduced or attempted to be introduced. To the extent that

the Government may attempt to introduce evidence of the conduct at

issue, the Court cannot render a ruling until the evidence is sought to be

introduced.

      No evidence may be introduced relating to state bar proceedings or

charges brought against Sprouse. Likewise, testimony concerning whether

she violated the Rules of Professional conduct is not admissible. To the

extent the Government seeks to use an expert in real estate law, that

expert may testify as to the ethical and professional standards applicable

to a real estate attorney but he or she may not offer an opinion as to the

ultimate issue. That is, among other ultimate issues, the expert may not

testify that the Defendant violated an ethical or professional duty or

committed any crime with which she stands charged. Even if such

testimony would otherwise be admissible, the Court finds that such opinion

would be so close to testimony of an opinion that the Defendant is guilty of

a crime with which she is charged (honest services fraud) that any

probative value is substantially outweighed by the unfair prejudice to the

Defendant and potential confusion of the jury arising from such testimony.

      The parties have agreed that pleadings in a separate civil matter will

not be introduced. In the event that the Defendant testifies and the



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Government seeks to use a transcript from that trial on cross-examination,

the Court will rule on the use of that document at the time use or

introduction is sought. The parties have also agreed to redact offending

portions of a statement from a government witness.

         The parties have agreed that the Government will not argue or

present evidence that nBank failed solely because of the Defendant’s

conduct. To the extent that the Government seeks to introduce evidence

of other victim impact, the Court cannot make a ruling until such evidence

is offered.

         IT IS, THEREFORE, ORDERED that the Defendant’s Motion in

Limine [Doc. 212] is hereby DENIED without prejudice to renewal during

trial.




                                           Signed: March 20, 2009




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